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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11

In re:

Case No. 09-10138 (KG)
NORTEL NETWORKS INC., ef al.

Jointly Administered
Debtors.

SNMP RESEARCH INTERNATIONAL INC.
and
SNMP RESEARCH, INC.,

Plaintiffs,
v.

NORTEL NETWORKS CORPORATION,
NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION,
NORTEL NETWORKS INTERNATIONAL
CORPORATION, NORTEL NETWORKS
TECHNOLOGY CORPORATION,
GENBAND US LLC, GENBAND, INC.,
PERFORMANCE TECHNOLOGIES, INC.,
PERFTECH (PTI) CANADA, AVAYA INC.,
RADWARE LTD., Adv. Proc. No. 11-53454 (KG)
and

JOHN DOE DEFENDANTS 1-100,

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NORTEL NETWORKS INC., et al., )
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Defendants. )
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MOTION AND BRIEF TO FILE UNDER SEAL
AVAYA INC.’S ANSWER TO COMPLAINT

' The U.S. Debtors in these chapter 11 cases, along with the last four digits of each U.S. Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).

Docket No. 34
#15739093 v1 March 2, 2012
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Avaya Inc. (“Avaya”), by and through its undersigned counsel, files this motion
and brief (“Seal Motion”) pursuant to sections 105(a) and 107(b) of title 11 of the United States

Code (the “Bankruptcy Code”), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 9018-1(b) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local
Rules”) to file under seal its Answer (“Answer”) to the Plaintiffs’ Complaint (“Complaint”). In
support of this Seal Motion, Avaya respectfully states as follows:

1. On November 2, 2011, the Plaintiffs filed the Complaint [D.I. 1].

2. On November 3, 2011, the Plaintiffs filed the Motion of SNMP Research
International, Inc. and SNMP Research, Inc. Pursuant to Section 107(b) of the Bankruptcy Code
and Bankruptcy Rule 9018 for Authorization to File Adversary Proceeding Complaint Under

Seal (“Plaintiffs’ Seal Motion”) [D.I. 3]. The Plaintiffs’ Seal Motion sought authority to file the

Complaint under seal because “the Complaint contains highly confidential information including
a detailed and intricate discussion of SNMP’s Intellectual Property and allegations about how the
Intellectual Property is used by the Debtors and various third parties. Revealing such
confidential information in a public filing may materially harm the Debtors and the third parties
that purchased the assets from the Debtors, not to mention the damage that might be done to

SNMP.” Plaintiffs’ Seal Motion, at § 12.

3. The Plaintiffs’ Seal Motion sought a direction from the Court that the
Complaint was to be filed and remain under seal to all persons and entities other than: (i) the
Court; (ii) the Debtors and the Committee and their counsel; (iii) any persons or entities upon
joint consent of SNMP and the Debtors with written permission; (iv) each third party defendant;

and (v) upon further order of the Court. Plaintiffs’ Seal Motion, at J 6.

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4, On December 28, 2011, the Court entered the Order Pursuant to-Section
107(b) of the Bankruptcy Code and Bankruptcy Rule 9019 for Authorization to File Adversary
Proceeding Under Seal (the “Seal Order’’) [D.I. 20], granting the Plaintiffs’ Seal Motion and
directing that the Complaint shall be filed and remain under seal to all persons and entities other
than (i) the Court; (ii) the Defendants named in the Complaint and their counsel; (111) Ernst &
Young Inc., in its capacity as the monitor of the Canadian Debtors; (iv) any person or entity upon
SNMP, the Debtors’ and the Canadian Debtors’ written permission; and (v) others upon further
Court order (collectively, the “Limited Parties”).

5. On December 28, 2011, the Complaint was filed under seal. [D.I. 21].

6. Avaya did not object to the Plaintiffs’ Seal Motion, and agrees with the
Plaintiffs that the Complaint contains highly confidential information that, if publicly available,
could materially harm the Debtors and the third parties that purchased the assets from the
Debtors, including but not limited to Avaya.

7. Concurrently with this Seal Motion, Avaya is filing its Answer to the
Complaint. The nature of the Answer necessarily requires discussion of the confidential
information contained in the Complaint. Avaya therefore believes its Answer to the Complaint
should likewise be filed and remain under seal other than to the Plaintiffs and the Limited
Parties.

8. Because the Court ordered that the Complaint be filed and remain under
seal other than to the Limited Parties, Avaya files this motion pursuant to Local Rule 9018-1(b)
seeking an order authorizing the Avaya to file the Answer under seal. Unredacted copies of the

Answer will be served on Plaintiffs, the U.S. Trustee, and the Limited Parties, to be held in strict

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confidence unless and until this Court determines that it is not to be filed or shall no longer
remain under seal.

WHEREFORE, Avaya respectfully requests that the Court enter an order,
substantially in the form attached hereto as Exhibit A, authorizing Avaya to file the Answer
under seal pursuant to Local Rule 9018-1(b), and granting such other relief as it deems just and
proper.

/s/ Michael J. Custer

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Dated: March 2, 2012

and

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
NORTEL NETWORKS INC., et al”

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SNMP RESEARCH INTERNATIONAL INC.

and
SNMP RESEARCH, INC.,

Plaintiffs,
Vv.

NORTEL NETWORKS INC., et al.,
NORTEL NETWORKS CORPORATION,
NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION,
NORTEL NETWORKS INTERNATIONAL
CORPORATION, NORTEL NETWORKS
TECHNOLOGY CORPORATION,
GENBAND US LLC, GENBAND, INC.,
PERFORMANCE TECHNOLOGIES, INC.,
PERFTECH (PTI) CANADA, AVAYA INC.,
RADWARE LTD.,

and
JOHN DOE DEFENDANTS 1-100,

Defendants.

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Chapter 11
Case No. 09-10138 (KG)

Jointly Administered

Adv. Proc. No. 11-53454 (KG)

ORDER GRANTING MOTION TO FILE UNDER
SEAL AVAYA INC.’S ANSWER TO COMPLAINT

* The U.S. Debtors in these chapter 11 cases, along with the last four digits of each U.S. Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
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Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).

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UPON the Motion and Brief to File Under Seal Avaya Inc.’s Answer to Complaint (the “Seal
Motion”) of Avaya Inc. (“Avaya”); and the Court having determined that granting the relief
requested in the Seal Motion is appropriate; and it appearing that due and adequate notice of the
Seal Motion having been given, and that no other or further notice need be given, and after due
deliberation and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

1. The Seal Motion is GRANTED.

2. Avaya’s Answer to the Complaint in the above captioned adversary
proceeding shall be filed and remain under seal and confidential and shall not be made available
to any person or entity other than (i) the Plaintiffs; (ii) the Court; (iii) the U.S. Trustee; (iv) the
Defendants named in the Complaint and their counsel; (v) Ernst & Young Inc., in its capacity as
the monitor of the Canadian Debtors; (vi) any person or entity upon Avaya’s, SNMP’s, the
Debtors’ and the Canadian Debtors’ written permission; and (vii) others upon further Court

order.

Dated: , 2012
Wilmington, Delaware THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY COURT

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